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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


    UNITED STATES OF AMERICA                    §
                                                §
    v.                                          §          Criminal No. 4:21-cr-00009
                                                §
    ROBERT T. BROCKMAN                          §


    DEFENDANT’S UNOPPOSED MOTION FOR DISMISSAL OF INDICTMENT

          Defendant Robert T. Brockman died on August 5, 2022. A copy of his death

certificate is attached as Exhibit A hereto.1

          The government initially informed defense counsel that the government would

move for dismissal upon receipt of the death certificate, which was provided to the

government on August 23, 2022. The government subsequently asked that defense counsel

make this motion, and report to the Court that it is unopposed by the government.

          Accordingly, the defense moves this Court for the dismissal of the indictment.

Dated: September 7, 2022                            /s/Jason S. Varnado
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1
 Mr. Brockman’s death certificate attached hereto as Exhibit A has been redacted in
compliance with Federal Rule of Criminal Procedure 49.1.


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                           CERTIFICATE OF SERVICE

      I certify that on this 7th day of September, 2022, I electronically served this

document on all counsel of record.



                                          /s/ Jason S. Varnado
                                          Jason S. Varnado




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                   EXHIBIT A
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